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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

     IN RE:                                                )      In proceedings under
        Leo Tigue                                          )          Chapter 13
                                                           )
                                                           )
              Debtor(s).                                   )      Bk. No.: 19-30460
                                                           )
                           CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION
                                     TO DEBTOR(S)' ORIGINAL PLAN

 TO THE HONORABLE U.S. BANKRUPTCY JUDGE:

     COMES NOW, RUSSELL C. SIMON, Chapter 13 Trustee, and files this his Objection to Confirmation
 of the Debtor(s) Original Plan and in support thereof would respectfully show unto this Court the following
 (only those items checked apply):

1.        The Debtor(s)’ Plan is not feasible. [Disposable Income: $0.00 Plan Payment: $0.00]

2. X      As of 6/14/2019, the proposed Plan does not provide sufficient funding to pay all allowed
          secured/priority claims, as well as any required distribution to allowed general unsecured claims. The
          Trustee's plan calculation* has been emailed to counsel. [Current Base: $37,200.00 Estimated Minimum
          Req’d Base: $47,130.00]
3.        Pursuant to Form 122C-2, Line 45, the Plan must provide a minimum payment to all allowed
          non-priority unsecured claims of the lesser amount of $0.00 or 100%.

4. X      The Plan proposed by the Debtor(s) fails to address the following secured and/or priority claims: City &
          Village Tax Office.


5.        The Plan does not provide for payment of all of the Debtor(s)’ disposable income.
          [Disposable Income on Sch. J: $0.00 Plan Payment: $0.00]

6. X      Pursuant to 1325(a)(4), the amount necessary to pay all classes of unsecured creditors is $19,018.09;
          however, Debtor(s)’ Plan only proposes to pay $8,990.00.

7.        Pursuant to the Proof of Claim filed by on , the Debtor(s) have not filed their tax returns. The
          Debtor(s) must provide the Trustee with evidence that these returns have been filed.

          If the Debtor(s) assert that they have filed the tax returns indicated on the tax agency's Proof of Claim as
          not filed, they must file an Objection to said Proof of Claim and/or otherwise have the taxing agency file
          an Amended Proof of Claim to set forth the correct amount of their priority debt, if any.

8. X      Other: Upon information and belief, and upon review of the real estate listing of the 180 Portmamock
                 Lane property, Debtor has significantly undervalued household goods, furnishings, electronics,
                 etc. An Amended A/B is required to completely and accurately list and value all assets.
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*The parties are advised that the plan calculation is subject to change based upon numerous factors,
including, but not limited to, a change in the Trustee's percentage fee; missed or late plan payments; the
filing of proof of claims in amounts substantially different from the amounts scheduled in the debtor(s)'
plan; and the filing of amended proof of claims.



        WHEREFORE, PREMISES CONSIDERED, Russell C. Simon, Chapter 13 Trustee,
respectfully prays that this Court deny confirmation of the Debtor(s)’ Plan, and grant him such other and
further relief, both in law and in equity, to which he shows himself justly entitled.

                                              /s/ Russell C. Simon
                                              RUSSELL C. SIMON, Trustee
                                              Chapter 13 Trustee
                                              24 Bronze Pointe
                                              Swansea, Illinois 62226
                                              Telephone: (618) 277-0086
                                              Telecopier: (618) 234-0124


Dated: June 14, 2019
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                                     CERTIFICATE OF SERVICE

 I hereby certify that a true and correct copy of the above and foregoing Trustee's Objection to
 Confirmation to Debtor(s)' Original Plan was served on the parties listed below by ordinary U.S. Mail
 (with the correct postage prepaid and deposited in the U.S. Mail in Belleville, IL) or served
 electronically through the Court's ECF System at the email address registered with the Court on this
 day, Friday, June 14, 2019.



                                            /s/Chantelle

Leo Tigue
180 Portmarnock Lane
St Charles, MO 63304


.J D GRAHAM
1 EAGLE CENTER STE 3A
OFALLON, IL 62269
